               Case 23-10813-pmm                          Doc 1        Filed 03/22/23 Entered 03/22/23 09:43:54                              Desc Main
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                            Eastern District of Pennsylvania


 Case number (if known):                                            Chapter     7                                                       ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                        06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Pro Guard Coatings, Inc.



    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  2      3 – 1     9   3    9   1   1   4
       Identification Number (EIN)



    4. Debtor's address                           Principal place of business                                   Mailing address, if different from principal place of
                                                                                                                business

                                                   One Industrial Way
                                                  Number           Street                                       Number        Street



                                                                                                                P.O. Box
                                                   Denver, PA 17517
                                                  City                                  State   ZIP Code
                                                                                                                City                              State      ZIP Code

                                                   Lancaster                                                    Location of principal assets, if different from principal
                                                  County                                                        place of business


                                                                                                                Number        Street




                                                                                                                City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ✔
                                                  ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ❑      Other. Specify:




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Debtor      Pro Guard Coatings, Inc.                                                                             Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .


    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ✔
                                                ❑    Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑    Chapter 9
     debtor” must check the first subbox. A     ❑    Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V             ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                          operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                            exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                            debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                            proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                            balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     A plan is being filed with this petition.

                                                      ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                            accordance with 11 U.S.C. § 1126(b).
                                                      ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                            Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                            (Official Form 201A) with this form.
                                                      ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes.   District                                       When                    Case number
                                                                                                               MM / DD / YYYY
     If more than 2 cases, attach a                       District                                      When                     Case number
     separate list.                                                                                            MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes.   Debtor                                                                 Relationship

     List all cases. If more than 1, attach a             District                                                               When
     separate list.                                                                                                                             MM / DD / YYYY
                                                          Case number, if known




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Debtor        Pro Guard Coatings, Inc.                                                                          Case number (if known)
             Name


  11. Why is the case filed in this      Check all that apply:
      district?
                                         ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         ❑
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                         ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have        ✔ No
                                         ❑
      possession of any real
      property or personal property
                                         ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
      attention?                                   ❑     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard?


                                                   ❑     It needs to be physically secured or protected from the weather.
                                                   ❑     It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                         (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                         options).
                                                   ❑     Other
                                                   Where is the property?
                                                                              Number         Street




                                                                              City                                           State       ZIP Code
                                                   Is the property insured?
                                                   ❑ No
                                                   ❑ Yes.        Insurance agency
                                                                 Contact name
                                                                 Phone

          Statistical and administrative information

         13. Debtor’s estimation of      Check one:
             available funds?            ❑ Funds will be available for distribution to unsecured creditors.
                                         ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                         ❑
                                            creditors.

         14. Estimated number of          ❑         ✔ 50-99
                                               1-49 ❑                        ❑       1,000-5,000 ❑ 5,001-10,000          ❑    25,001-50,000 ❑ 50,000-100,000
             creditors                    ❑    100-199 ❑      200-999        ❑       10,001-25,000                       ❑    More than 100,000


         15. Estimated assets             ❑    $0-$50,000                       ❑      $1,000,001-$10 million                ❑       $500,000,001-$1 billion
                                          ❑    $50,001-$100,000                 ❑      $10,000,001-$50 million               ❑       $1,000,000,001-$10 billion
                                          ❑    $100,001-$500,000                ❑      $50,000,001-$100 million              ❑       $10,000,000,001-$50 billion
                                          ✔
                                          ❑    $500,001-$1 million              ❑      $100,000,001-$500 million             ❑       More than $50 billion




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Debtor        Pro Guard Coatings, Inc.                                                                              Case number (if known)
             Name



                                            ❑    $0-$50,000                            ❑   $1,000,001-$10 million                  ❑   $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑    $50,001-$100,000                      ❑   $10,000,001-$50 million                 ❑   $1,000,000,001-$10 billion
                                            ❑    $100,001-$500,000                     ❑   $50,000,001-$100 million                ❑   $10,000,000,001-$50 billion
                                            ✔
                                            ❑    $500,001-$1 million                   ❑   $100,000,001-$500 million               ❑   More than $50 billion



           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on     03/22/2023
                                                                    MM/ DD/ YYYY



                                                ✘ /s/ Helmar Gueldner                                                  Printed name
                                                                                                                                          Helmar Gueldner
                                                    Signature of authorized representative of debtor


                                                    Title                        President



         18. Signature of attorney
                                                ✘                        /s/ Barry Solodky                             Date      03/22/2023
                                                                                                                                 MM/ DD/ YYYY
                                                    Signature of attorney for debtor



                                                     Barry Solodky
                                                    Printed name

                                                     Saxton & Stump Law Firm
                                                    Firm name

                                                     280 Granite Run Drive, Suite 300
                                                    Number          Street


                                                     Lancaster                                                            PA               17601
                                                    City                                                                 State            ZIP Code



                                                     (717) 556-1000                                                        BSO@saxtonstump.com
                                                    Contact phone                                                         Email address



                                                     19259                                                                 PA
                                                    Bar number                                                            State




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                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF PENNSYLVANIA
                                                             READING DIVISION

IN RE: Pro Guard Coatings, Inc.                                                        CASE NO

                                                                                       CHAPTER 7




                                                   VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       03/22/2023            Signature                                /s/ Helmar Gueldner
                                                                        Helmar Gueldner, President
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                              Aal Chem
                              P.O. Box 674929
                              Detroit, MI 48267




                              Ben's Truck Repair
                              560 N. 5th Street
                              P.O. Box 81
                              Denver, PA 17517



                              Blue Ridge Cable
                              P.O. Box 316
                              Palmerton, PA 18071




                              Brenntag
                              P.O. Box 62111
                              Baltimore, MD 21264




                              Brian Gueldner
                              9925 Killarny Lane Apt. 103
                              Gaithersburg, MD 20877




                              Brown & Brown
                              P.O. Box 746565
                              Atlanta, GA 30374




                              Callahan Chemical Broad &
                              Filmor
                              P.O. Box 65
                              Palmyra, NJ 08065



                              Can Capital
                              2015 Vaughn Road NW, Bldg. 500
                              Kennesaw, GA 30144
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                              Capital One
                              P.O. Box 71087
                              Charlotte, NC 28272




                              Chempoint
                              USPS - 13727 Collection
                              Chicago, IL 60693




                              Cintas Fire
                              P.O. Box 636525
                              Cincinnati, OH 45263




                              Citi Advantage Gold Card
                              P.O. Box 9001037
                              Louisville, KY 40290




                              Coatings for Industry
                              319 Township Line R
                              Souderton, PA 18964




                              Corporation Service Company
                              P.O. Box 2576
                              Springfield, IL 62708




                              CT Corporation System
                              Attn: SPRS
                              330 N. Brand Blvd. Suite 700
                              Glendale, CA 91203



                              CT Corporation System, as
                              Representative
                              Attn: SPRS
                              330 N. Brand Blvd. Suite 700
                              Glendale, CA 91203
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                              De Lage Laden
                              P.O. Box 41602
                              Philadelphia, PA 19101




                              De Lage Landen Financial
                              Services, Inc.
                              1111 Old Eagle School Road
                              Wayne, PA 19087



                              East Cocalico Township
                              Authority
                              102 Hill Road
                              Denver, PA 17517



                              Edgemont Metallics
                              P.O. Box 405
                              Bryn Mawr, PA 19010




                              Equitable Financial Life
                              P.O. Box 733463
                              Dallas, TX 75373




                              Federal PPP Loan 2
                              c/o M&T Bank
                              475 Crosspoint Pkwy
                              Getzville, NY 14068



                              FedEx
                              P.O. Box 371461
                              Pittsburgh, PA 15250




                              FedEx Freight
                              P.O. Box 223125
                              Pittsburgh, PA 15251
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                              First Corporate Solutions
                              914 S. Street
                              Sacramento, CA 95811




                              Goods Disposal
                              4361 Oregon Pike
                              Ephrata, PA 17522




                              Grainger Department
                              Mw H11
                              Palatine, IL 60038




                              GS1 US
                              300 Charles Ewing Blvd.
                              Trenton, NJ 08628




                              Guernsey
                              P.O. Box 61770
                              Harrisburg, PA 17106




                              Hanover Insurance
                              P.O.. Box 580045
                              Charlotte, NC 28258




                              Highmark
                              P.O. Box 645261
                              Pittsburgh, PA 15264




                              Horizon Mowing
                              567 Greenview Drive
                              Denver, PA 17517
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                               Infotrac
                               200 N. Palmetto Street
                               Leesburg, FL 34748




                               Intuit Quickbooks
                               c/o Intuit Payments, Inc.
                               2700 Coast Avenue
                               Mountain View, CA 94043



                               Jane Gueldner
                               436 Trena Avenue
                               Lancaster, PA 17601




                               Joshua Knapp, Esquire
                               Barley Snyder
                               126 E. King Street
                               Lancaster, PA 17602



                               Leaf Capital
                               2005 Market Street, 14th Floor
                               Philadelphia, PA 19103




                               Leaf Capital Funding, LLC
                               2005 Market Street, 14th Floor
                               Philadelphia, PA 19103




                               M&T Bank Line of Credit
                               4830 Penn Avenue
                               16908




                               One Way Property Holdings,
                               LLC
                               3 Creekview Lane
                               Strasburg, PA 17579
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                               PA Department of Revenue
                               P.O. Box 280406
                               Harrisburg, PA 17128-0406




                               PA Department of
                               Transportation
                               1101 S. Front Street
                               Harrisburg, PA 17103



                               PaulB
                               50 Wood Corner Road
                               Lititz, PA 17543




                               Penndel
                               1038 W Walnut Street
                               Coal Township, PA 17866




                               PP&L
                               2 N. 9th Street
                               Allentown, PA 18101




                               Pure Water
                               1200 Corporate Blvd.
                               Lancaster, PA 17601




                               Schnader Harrison
                               1600 Market Street Suite 3600
                               Philadelphia, PA 19103




                               Terra Firma
                               200 Fribery Parkway Suite 3000 B
                               Westborough, MA 01581
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                               U.S. Small Business
                               Administration
                               2 N. 20th Street Suite 320
                               Birmingham, AL 35203



                               UGI
                               P.O. Box 15503
                               Wilmington, DE 19886




                               Uline
                               P.O. Box 88741
                               Chicago, IL 60680




                               United Concordia
                               P.O. Box 827377
                               Philadelphia, PA 19182




                               Van Hor, Metz & Co.
                               201 E. Elm St.
                               Conshohocken, PA 19428




                               Verizon
                               500 Technology Drive Suite 870
                               Saint Charles, MO 63304




                               Village Haus LLC
                               P.O. Box 707
                               Adamstown, PA 19501




                               Vox Funding
                               14 E. 44th Street
                               New York, NY 10017
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                               Wabash Station
                               783 N. Reading Road
                               Ephrata, PA 17522




                               Wells Fargo Bank, N.A.
                               300 Tri-State International Suite 400
                               Lincolnshire, IL 60069
